
Plycon Transportation Group, LLC and
Plycar Transportation Group, LLC, Respondents,
againstStephen Kirschenbaum, Appellant.




Kenneth J. Falcon, Esq., for appellant.
The Weinstegin Group, P.C. (Lloyd J. Weinstein of counsel), for respondents.

Appeal from an order of the Suffolk County Court (Andrew G. Tarantino, Jr., J.), dated May
1, 2013. The order, insofar as appealed from as limited by the brief, denied the branch of
defendant's motion seeking to vacate so much of an order of that court dated January 31, 2013 as,
sua sponte, imposed sanctions upon defendant.




ORDERED that the order, insofar as appealed from, is reversed, without costs, the branch of
defendant's motion seeking to vacate so much of the January 31, 2013 order as, sua sponte,
imposed sanctions upon defendant is granted and the matter is remitted to the County Court for
further proceedings in accordance with this decision and order.
Plaintiffs commenced this action to recover $11,268, alleging that they had entered into a
contract with defendant to move certain of defendant's items from New York to New Mexico and
that defendant had failed to pay for the services. Defendant's answer denied the material
allegations of the complaint and set forth affirmative defenses claiming that defendant is entitled
to a setoff for part of the amount sought in the complaint. After defendant failed to comply with a
discovery order, the County Court modified that order by adding a provision that sanctions may
be imposed upon a party's noncompliance. Before the compliance deadline, defendant's counsel
submitted an order to show cause to be relieved as counsel because "certain difficulties [had]
arisen between us and Defendant with respect to communications with Defendant" and "there is a
problem litigating this matter with a Defendant who is not located within the New York area."
[*2]The court signed the order to show cause, writing thereon that
defendant would need to personally appear on January 31, 2013, together with his attorney, and
that sanctions may be imposed for failure to comply with the prior discovery order of the court.
On January 31, 2013, defendant did not appear, and the court was informed that discovery had
not been completed. By order dated January 31, 2013, the County Court relieved defendant's
counsel, found defendant in default for failing to appear, precluded defendant from offering into
evidence any documents or other materials at trial or inquest, and imposed sanctions against
defendant in the sum of $5,000 payable to plaintiffs' counsel.
Defendant filed a notice of appeal from the January 31, 2013 order and also moved by order
to show cause to vacate that order except for the portion thereof which relieved defendant's
counsel. Upon signing the order to show cause, the court modified the January 31, 2013 order to
the extent of vacating the default against defendant. By order dated May 1, 2013, the court,
among other things, directed plaintiffs "to maintain the sanctions, remitted by Defendant in
satisfaction of the January 31, 2013, Order, in trust until determination of the appeal from the
January 31, 2013 order."[FN1]

Defendant appeals, as limited by his brief, from so much of the May 1, 2013 order as denied
the branch of his motion seeking to vacate the portion of the court's January 31, 2013 order that
sua sponte imposed sanctions, arguing that the sanctions were levied in violation of CPLR 321
(c). CPLR 321 (c) provides, in relevant part, that, if an attorney is removed, "no further
proceeding shall be taken in the action against the party for whom he appeared, without leave of
the court, until thirty days after notice to appoint another attorney has been served upon that
party." Defendant also argues that the amount of sanctions imposed was disproportionate to the
amount in controversy. In response, plaintiffs argue that the 30-day stay in CPLR 321 (c) does
not apply here since there was no "Death, removal or disability" of defendant's former counsel.
Moreover, plaintiffs contend, the $5,000 sanction imposed was warranted.
The Appellate Division, Second Department, has held that the circumstances triggering an
automatic stay under CPLR 321 (c) should be confined to "a force majeure, such as death, mental
or physical incompetency, induction into military service, disqualification resulting from statute
or from election to judicial office, or disqualification due to disbarment or removal by the court
from the office of attorney at law or disqualification due to suspension by the court from the
practice of law" (Hendry v Hilton, 283 App Div 168, 171 [1953]; see also Blondell v
Malone, 91 AD2d 1201 [4th Dept 1983]; Amari v Molloy, 180 Misc 2d 664 [Sup Ct,
Kings County 1999]; but see Leonard Johnson &amp; Sons Enters. v Brighton Commons
Partnership, 171 AD2d 1059 [4th Dept 1991]). Even when a stay is ordered, it is typically
granted when, over his client's objection, counsel seeks leave to be relieved. Where, however, the
attorney's withdrawal is caused by a voluntary act of the client, the court has the discretion to
permit the matter to proceed without such a stay (see Sarlo-Pinzur v Pinzur, 59 AD3d
607 [2009]; Graco Constr. Corp. v Eves, 232 AD2d 370 [1996]). Here, defendant's
counsel moved for leave to be relieved on the ground that communication with defendant was
difficult, and that motion was unopposed. Under [*3]the
circumstances, the County Court did not improvidently exercise its discretion in refusing to grant
a stay (cf. Cuevas v Cuevas, 110 AD2d 873 [1985]).
Section 130-1.1 of the Rules of the Chief Administrator of the Courts (22 NYCRR) allows a
court, on its own initiative, to impose financial sanctions against either an attorney or a party to
the litigation or against both for engaging in frivolous conduct, which includes conduct that is
completely without merit in law, undertaken primarily to delay or prolong the resolution of the
litigation, or to harass or maliciously injure another, or asserting material factual statements that
are false. However, a court's sua sponte imposition of sanctions against a party or an attorney
may be made only "after a reasonable opportunity to be heard" (22 NYCRR 130-1.1 [d]; see
Hester v Hester, 121 AD3d 645 [2014]; Matter of Ariola v DeLaura, 51 AD3d 1389
[2008]; Hines v RAP Realty Corp., 254 AD2d 330 [1998]; see also Deeb v Tougher
Indus., 216 AD2d 667 [1995]). Here, the County Court failed to provide defendant with an
opportunity to place on the record any evidence or argument that might persuade the court that a
sanction is inappropriate or that the amount assessed is not warranted.
Accordingly, the order, insofar as appealed from, is reversed, the branch of defendant's
motion seeking to vacate so much of the January 31, 2013 order as, sua sponte, imposed
sanctions is granted and the matter is remitted to the County Court for further proceedings.
GARGUILO, J.P., MARANO and TOLBERT, JJ., concur.

ENTER:Paul KennyChief ClerkDecision Date: December 20, 2018Footnotes

Footnote 1:The action was settled by
so-ordered stipulation dated August 26, 2013 and the appeal from the January 31, 2013 order was
dismissed.








